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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA

Vs.                          CASE NO. 4:11cr00209-22 JMM

DONNIE MITCHELL


                                         ORDER

       Defendant appeared February 27, 2013, for a sentencing hearing. The Court ordered

as a special condition that the first eight (8) months of supervised release be home

confinement with electronic home monitor at a location in the Middle District of Tennessee,

if approved by the receiving district.

       The special condition was not accepted by the Middle District of Tennessee

accordingly that sentence is vacated.

       The resentencing hearing is scheduled Friday, March 8, 2013 at 11:30 a.m.

       The Clerk is requested to provide a copy of this Order to the United States Marshals

Service and the United States Probation Office.

       IT IS SO ORDERED this 1st day of March, 2013.




                                          UNITED STATES DISTRICT JUDGE
